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Member. House Freepom Caucus TRANSPORTATION AND MARITIME SECURITY

COMMITTEE ON OVERSIGHT AND ACCOUNTABILITY

iy GOVERNMENT OPERATIONS AND
THE FEDERAL WORKFORCE

Congress of the United States NATIONAL SECURITY, THE

BORDER, AND FOREIGN AFFAIRS

House of Representatives
Washington, BC 20515
November 7, 2023

The Honorable Royce C. Lamberth
United States District Judge c: Latok: , AFSL
for the District of Columbia

333 Constitution Ave, NW
Washington, DC 20001

Judge Lamberth,

Sir, I submit to you this letter in support of Ryan Taylor Nichols. He is a man of good character, faith, and
core principles.

Today, Mr. Nichols will plead guilty after months of negotiation with the Department of Justice. I humbly
ask that he receive fair consideration of the whole of circumstances regarding his case, condition, and
background. He has already served nearly two years in the District of Columbia jail in pretrial confinement, which
has been destructive to his physical (liver issues) and mental health (PTSD).

Mr. Nichols has been out of incarceration since November 22, 2022. Since this release into house arrest,
he has not sought to flee nor shown any indication of dangerous activity. He has instead used this time to
reconnect with his wife Bonnie and two sons, Ryan Jr. and Blake, as well as recover from the stark conditions he
was subjected to in prison.

As previously mentioned, Mr. Nichols suffers from conditions that have been exacerbated by his time in
incarceration. Several of Mr. Nichols’ vital measures dropped to dangerous levels as a result of his time in solitary
confinement. In particular, he has severe liver issues that require treatment. In his current in-home arrangement,
he has been able to receive a regimen that has largely restored his health. Furthermore, he receives medicine to
treat his post-traumatic stress that dates back to his military career.

Prior to his arrest, Mr. Nichols had no criminal background and served honorably in the United States
Marine Corps. He continued to serve domestically in a search and rescue capacity, even being publicly recognized
for his heroic actions on national television.

Mr. Nichols has already paid a tremendous price in time and treasure. His case must be considered fairly
and thoroughly in line with his fundamental constitutional rights.

Respectfully,

Clay Higgins
Member of Congress
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